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                                                                         7                                IN THE UNITED STATES DISTRICT COURT
                                                                         8                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                         9
                                                                         10   UNITED STATES OF AMERICA                          No. CR-04-0382 CRB
                                                                         11
United States District Court




                                                                                             Plaintiff,                         ORDER
                               For the Northern District of California




                                                                         12
                                                                              -v-
                                                                         13
                                                                              FUK TAI CHOW,
                                                                         14
                                                                         15                  Defendant.
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                                                                         17          It is hereby ordered that the United States Marshal sequester the jury of twelve members
                                                                         18   in the above matter during their deliberations at the United States Courthouse in San Francisco
                                                                         19   and furnish them with meals at the expense of the United States. The deliberations will
                                                                         20   commence on March 02, 2006 .
                                                                         21          The jury shall be sequestered commencing March 02, 2006 until conclusion of trial
                                                                         22   proceedings.
                                                                         23          IT IS SO ORDERED.
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                                                                         25   Dated: March 02, 2006
                                                                                                                                  CHARLES R. BREYER
                                                                         26                                                       UNITED STATES DISTRICT JUDGE
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